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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division


 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, APRIL MUÑIZ, MARCUS
 MARTIN, NATALIE ROMERO, CHELSEA
 ALVARADO, JOHN DOE, and THOMAS
 BAKER,                                                     Civil Action No. 3:17-cv-00072-NKM

                                Plaintiffs,                     JURY TRIAL DEMANDED
        v.
 JASON KESSLER, et al.,
                                Defendants.


                     PLAINTIFFS’ TRIAL BRIEF REGARDING VOIR DIRE
                           AND JUROR EXCUSALS FOR CAUSE

        Plaintiffs respectfully submit this brief in advance of voir dire to assist the Court in

 streamlining the jury selection process. Written juror questionnaires “elicit frank answers that a

 juror might be reluctant to voice in the presence of other jurors.” Pena-Rodriguez v. Colorado, 137

 S. Ct. 855, 880 (2017) (Alito, J., dissenting). For the reasons explained below, and consistent with

 longstanding precedent and practice in the federal courts, the Court should, prior to the

 commencement of jury selection on Monday, excuse the following prospective jurors for cause:

 (1) any prospective jurors who have disclosed on their questionnaire that they would refuse to

 follow the law or this Court’s instructions on the law; (2) any prospective jurors who have

 disclosed on their questionnaire that they would refuse to abide by this Court’s COVID-19 health

 precautions; and (3) any prospective jurors who have disclosed on their questionnaire that they

 hold extreme views about “Antifa” or its members.
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                                            ARGUMENT

 I.     THE COURT SHOULD EXCUSE ANY PROSPECTIVE JURORS WHO REFUSE
        TO FOLLOW THE LAW
        It is axiomatic that jurors are duty bound to “apply the law as instructed by the court.”

 United States v. Thomas, 116 F.3d 606, 614 (2d Cir. 1997); see also United States v. Boone, 458

 F.3d 321, 329 (3d Cir. 2006). Consistent with that duty, a juror must follow the applicable law,

 regardless of “the identity of the party, [the juror’s] disapprobation of the particular prosecution at

 issue, or a more general opposition to the applicable criminal law or laws.” Thomas, 116 F.3d at

 614. Potential jurors who make clear that they cannot or will not comply with the governing law

 are “no less subject to dismissal than is a juror” who is “biased or otherwise unable to render a fair

 and impartial verdict.” Id.; see also United States v. Tinker, No. 96-4917, 1998 U.S. App. LEXIS

 1233, at *4-5 (4th Cir. Jan. 28, 1998); United States v. Lynch, 903 F.3d 1061, 1079 (9th Cir. 2018).

 Consistent with these principles, “every day in courtrooms across the length and breadth of this

 country, jurors are dismissed from the venire ‘for cause’ precisely because they are unwilling or

 unable to follow the applicable law.” Thomas, 116 F.3d at 616.

        In the ordinary case, courts can often resolve questions about a juror’s qualifications by

 asking a few questions that clarify whether a juror can be fair and impartial. This, however, is no

 ordinary case. It is a high-profile trial, which, for some potential jurors, involves sensitive and

 polarizing issues. In such cases, courts, as this Court has done here, often employ an important and

 useful tool for jury selection: written jury questionnaires. The written questionnaires here have

 resulted in certain jurors stating that they would not follow the law in this case.

        Defendants have indicated their belief that the individuals who have given disqualifying

 answers on a questionnaire may be rehabilitated by oral voir dire. But oral voir dire should not be

 a basis for seating jurors (regardless of their political background) who have already made



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 absolutely clear, in a written questionnaire, that they should be disqualified for cause and are

 beyond rehabilitation. There can be little doubt that written questionnaires “elicit frank answers

 that a juror might be reluctant to voice in the presence of other jurors.” Pena-Rodriguez, 137 S.

 Ct. at 880 (Alito, J., dissenting); see Lin Lilley, Let Jurors Speak the Truth, in Writing: Some

 Jurors Aren’t Fully Candid during Oral Voir Dire. When You Hand Them a Supplemental Juror

 Questionnaire and a Pen, Many Will Feel Free to Open Up, 7 TRIAL J. FOR THE AM. ASS’N FOR

 JUST. 41, 64-69 (2005). Further, written questionnaires allow jurors more time to think through the

 questions and give complete answers when compared to responding orally to unexpected

 questions. Because of the highly charged nature of this case, the distinct advantages of a written

 questionnaire are even greater. Identifying individuals’ deeply held beliefs here is necessary for

 meaningful jury selection. Conclusory or revised answers during oral voir dire cannot achieve that

 objective and provide no basis to seat a juror who has already clearly indicated that he will not

 follow the law or the Court’s instructions.1 Unambiguous answers in jury questionnaires constitute

 grounds for striking jurors for cause regardless of how hard the Court and counsel work to achieve

 an effective oral voir dire process.

          A corollary principle is that jurors who have made disqualifying statements in their

 questionnaire should not be considered to be rehabilitated by revised views in oral voir dire. In

 those circumstances of conflicting statements, no one can be assured that the juror can offer a fair

 trial. In United States v. Christensen, a juror told other jurors during deliberations that he disagreed

 with the law at issue and refused to deliberate; the court held that it “makes no sense to let” a


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   For example, one former Assistant U.S. Attorney has explained, “It is not uncommon . . . to have reviewed juror
 questionnaires where prospective jurors have written racist comments or expressed views showing the prospective
 juror is prejudiced against some group, but when asked in open court by the trial judge whether the defendant’s race
 would affect any of the prospective jurors’ ability to be fair and impartial, the same prospective jurors have sat silently,
 hands fixed at their sides.” C.J. William, To Tell You the Truth, Federal Rule of Criminal Procedure 24(A) Should Be
 Amended to Permit Attorneys to Conduct Voir Dire of Prospective Jurors, 67 S.C. L. REV. 35, 56 n.156 (2015).



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 potential juror’s statements that he can “‘follow the law’ serve as an automatic free pass, if other

 evidence supports findings to the contrary.” 828 F.3d 763, 813 (9th Cir. 2015) (Clifton, J.)

 (amended opinion); see also United States v. Binh Duy Pham, 79 F. App’x 566, 569-70 (4th Cir.

 2003) (a juror may be dismissed if she volunteers concerns about her ability to be impartial). The

 same should be true here if a potential juror flips flops on the issue of whether they can follow the

 law. To permit such potential jurors to be seated would be to “encourage or permit” juror

 misconduct that is “within [the Court’s] authority to prevent.” Thomas, 116 F.3d at 615.

 II.      THE COURT SHOULD EXCUSE ANY PROSPECTIVE JURORS WHO REFUSE
          TO ABIDE BY THE COURT’S COVID-19 HEALTH PRECAUTIONS
          Recognizing the “current state of the COVID-19 pandemic in Virginia, the Western District

 and in the Charlottesville Division in particular,” this Court issued a comprehensive order

 instituting “necessary and appropriate measure[s] to protect the parties, attorneys, court staff, and

 potential jurors and to decrease risk of exposure to COVID-19.” ECF No. 1146 at 3, COVID-19

 Health Precautions Order (“Order” or “Health Precautions Order”). The Order: (1) requires all

 persons to wear masks in the courtroom regardless of vaccination status; (2) requires social

 distancing whenever possible throughout the courthouse; (3) restricts the total number of persons

 in the courtroom; and (4) requires anyone entering the courtroom to conduct a health self-

 assessment.2 Id. at 2-5. Failure to abide by the Health Precautions Order increases “the risk of

 exposure to COVID-19” and endangers the health and safety of all trial participants—including




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   The Order also states: “If counsel becomes aware of any counsel of record, litigant, witness, or any other necessary
 case participant, who had visited or intended to attend in person a pre-trial hearing or trial in this case at the
 Charlottesville federal courthouse, who (i) has tested positive for COVID-19, (ii) has been in ‘close contact’ with
 someone with COVID-19 within the meaning of CDC Guidance, or (iii) on account of conducting the health self-
 assessment described above, concludes they should not come to the Courthouse, counsel shall promptly advise the
 Court.” ECF No. 1146 at 5.



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 the jury, court staff, the parties, and counsel. Id. at 3. Failure to abide by the Order also increases

 the risk that the trial may be disrupted or halted.

         To avoid these risks, the Court should excuse any potential juror who indicates a refusal to

 follow any part of the Health Precautions Order. That approach is warranted for at least three

 independent reasons.

         First, and foremost, this Court has inherent, plenary power to manage the administration

 and safety of its courtroom, and “to impose order, respect, decorum, silence, and compliance with

 lawful mandates.” United States v. Shaffer Equip. Co., 11 F.3d 450, 462 (4th Cir. 1993). The Court

 may exercise that authority to excuse for cause any prospective jurors who refuse to follow court-

 imposed rules. United States v. McKinney, No. 92-50619, 1994 U.S. App. LEXIS 1941, at *4-5

 (9th Cir. Jan. 28, 1994) (“We have upheld district court decisions to dismiss jurors when the

 decisions had some demonstrable relation to a legitimate administrative interest of the court.”);

 United States v. Seal, 165 F. App’x 975, 978 (3d Cir. 2006) (district court did not abuse its

 discretion in removing a juror after finding that the juror disregarded the court’s instructions by

 smuggling in outside documents to the deliberation room); United States v. James, 203 F. 3d 836,

 at *4 (10th Cir. 2000) (table opinion) (district court did not abuse its discretion in sua sponte

 dismissing a prospective juror because a “person who is either unwilling or unable to follow the

 court’s instructions is not qualified to be a juror”).

         Consistent with that broad authority, federal courts have routinely excused potential jurors

 who pose a risk of spreading COVID-19 to others. For example, a federal district court in New

 York recently held that excusing all unvaccinated prospective jurors for cause was appropriate and

 consistent with the Sixth Amendment. United States v. Moses, No. 6:19-cr-6074, 2021 WL

 4739789, at *2-5 (W.D.N.Y. Oct. 12, 2021) (per se excusal of unvaccinated prospective jurors to




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 prevent disruption “given the anticipated length of th[e] trial and high levels of community

 transmission”). At least one federal court in Virginia has done the same. See United States v.

 Muhammad, No. 3:21-cr-34, 2021 U.S. Dist. LEXIS 187578, at *8 (E.D. Va. Sep. 29, 2021)

 (unvaccinated prospective jurors stricken for cause). Taking a similar approach, another federal

 district court in Illinois determined, over a defendant’s objection, that it would first pull from a

 pool of vaccinated jurors before pulling from a pool of unvaccinated jurors. United States v.

 Berrios, No. 20-cr-30048, Minute Entry Proceeding (C.D. Ill. May 24, 2021).

        If courts have the power to strike prospective jurors for cause (or to narrow the venire pool)

 based on their COVID-19 vaccination status in criminal cases, then it follows that this Court

 possesses the authority to excuse for cause prospective jurors who refuse to follow the Court’s

 COVID-19 protocols in this civil case. That is especially true since a juror who refuses to follow

 the Court’s basic rules on health and safety is more likely to flout other rules and instructions of

 the Court, including the Court’s instructions on evidence and law. See supra Part I.

        Second, the Court has authority, under 28 U.S.C. § 1866(c)(1), to excuse prospective jurors

 on the grounds that seating them “would increase their risk of contracting COVID-19 and thereby

 constitute an ‘undue hardship’ on them.” United States v. Elder, No. 18-cr-92, 2021 U.S. Dist.

 LEXIS 175476, at *4 (E.D.N.Y. Sep. 3, 2021) (emphasis added). In Elder, the Court found that

 requiring unvaccinated persons to serve on the jury would cause undue hardship because the trial

 would “be held in a single room for approximately three weeks, five days a week,” and would

 involve “at least 12 jurors” plus several lawyers, support staff, the court reporter, United States

 Marshals, and the Court, all of which would increase “the risk of transmission.” Id. That logic

 applies with force here to those prospective jurors unwilling to follow the Court’s Health

 Precautions Order.




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        Third, excluding prospective jurors who refuse to follow the Court’s COVID-19 health and

 safety precautions is necessary to avoid disrupting the trial proceedings. Under 28 U.S.C. § 1866,

 courts also have the authority to excuse a juror “on the ground that … his service as a juror would

 be likely to disrupt the proceedings.” Empaneling a juror who refuses to adhere to this Court’s

 COVID rules would be highly disruptive: it would increase the chance of COVID-19 outbreak,

 endanger the lives of those in the courtroom, and risk significant delays in the trial proceedings.

 See Moses, 2021 WL 4739789, at *4-5 (listing numerous potential disruptions under § 1866 due

 to an outbreak of COVID-19); Elder, 2021 U.S. Dist. LEXIS 175476, at *4-5 (same).

        Courts have similarly dismissed jurors—even after they have been empaneled—when their

 actions compromise the safety of other jurors and trial participants. E.g., Bostick v. State Farm

 Mut. Auto. Ins. Co., No. 8:16-cv-1400, 2018 WL 1203102, at *2-3 (M.D. Fla. Mar. 8, 2018), aff’d,

 774 F. App’x 600 (11th Cir. 2019) (“After carefully listening to each juror, the Court ultimately

 determined that it was absolutely necessary to excuse Mr. Samelton for the safety of the jurors.

 The Court determined that even the Court Security [Officers’] presence could not ensure the

 physical safety of each juror”); cf. United States v. Barnes, 604 F.2d 121, 140 (2d Cir. 1979)

 (recognizing “jurors will be less than willing to serve” if their privacy and safety are

 compromised).

        And those are not the only risks of disruption. A juror who refuses to wear masks or follow

 the Court’s Health Precautions Order could affect the willingness of other venire members (who

 do take precautions seriously and/or may be at greater risk for COVID-related illness) to carry out

 their duty as jurors. It would have the disruptive effect of tainting the decision-making of other

 jurors, once empaneled, who fear being around a juror indoors for any extended time-period. See

 Muhammad, 2021 U.S. Dist. LEXIS 187578, at *8. Even a juror who may be disgruntled at




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 COVID protocols could have an adverse effect on other jurors and disrupt the entirety of the trial

 proceedings. See United States v. Shelton, 669 F.2d 446, 460 (7th Cir. 1982) (upholding removal

 of a juror because the district court was “concerned about the effect of a potentially impatient and

 disgruntled juror on the jury in the context of a lengthy trial”); see also United States v. Lloyd, No.

 17-cr-119, 2021 WL 3908434, at *7 (W.D.N.Y. Sept. 1, 2021) (“The COVID-19 safety

 precautions that were followed during the trial were cumbersome, but they did not compromise

 the fairness of the trial or the jury’s deliberations and verdicts.”).3

          This Court’s authority to excuse jurors for cause is at its apex when issues of health and

 safety are at stake. This Court should not hesitate to exercise that power and strike any prospective

 juror who indicates a refusal or unwillingness to abide by the Court’s Health Precautions Order.

 III.     THE COURT SHOULD EXCUSE ANY PROSPECTIVE JURORS WHO HOLD
          EXTREME VIEWS ABOUT “ANTIFA” AND ITS MEMBERS
          A prospective juror may be dismissed for cause if he harbors bias, which is “‘the existence

 of a state of mind that leads to an inference that the person will not act with entire impartiality.’”

 Porter v. Gilmore, 479 F. Supp. 3d 252, 284 (E.D. Va. Aug. 14, 2020) (quoting United States v.

 Torres, 128 F.3d 38, 43 (2d Cir. 1997)). “‘[A] juror is not impartial if his experiences, opinions,

 predispositions, biases, prejudices, interests, or relationships would prevent or substantially impair

 the performance of his duties as a juror in accordance with his instructions under oath.” Id. at 285

 (quoting United States v. Sampson, 820 F. Supp. 2d 151, 162 (D. Mass. 2011)).

          Defendants have repeatedly tried to inject “Antifa” into this litigation. In particular, they

 have tried to pin the blame of their violent conspiracy on “Antifa”; they have accused Plaintiffs of




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   For example, if a juror (who is unwilling to follow the Court’s COVID-19 rules) refuses to wear a mask, even if for
 just part of the day, it will require the Court to interrupt the proceedings to instruct the juror to wear the mask. Not
 only would that be incredibly disruptive to the proceedings, it would risk embarrassing the juror, alienating him from
 his fellow jury members, and fostering resentment that he has to follow rules with which he disagrees.


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 being members of or associated with “Antifa”; and they have alleged that the violence they

 perpetrated at Unite the Right was carried out in anticipation of and response to “Antifa” violence.

 Defs.’ Mot. for Summ. J., ECF No. 823 at 44 (“After learning that Antifa adherents planned to use

 violence to disrupt the Unite the Right rally, movant-defendants prepared to defend themselves and

 others out of a concern for safety.”); id. at 45 (arguing that Defendants did not target a protected class

 because “violence—such as that plotted by Antifa adherents and used by oppositionists on August

 12th—is not unique to any class”); Mem. in Supp. of Mot. to Dismiss of Def. Richard Spencer, ECF

 No. 209 at 17 (“[T]he presence of firearms at the United the Right rally must be understood in its

 proper context . . . Violence and threats thereof have begun to appear – as well as resultant efforts

 at self-protection – at events controversial political events associated with Spencer due to the rise

 of so-called ‘Antifa’”); Movant-Defs.’ Reply to Pls. Resp. to Mot. for Summ. J., ECF No. 878 at

 9 (“Movant-defendants simply argue that Plaintiffs have failed to provide evidence that speech

 and violence directed at Antifa is racially, rather than politically, motivated.”); Def. Christopher

 Cantwell’s Mot. in Limine, ECF No. 1066 at 1 (“Plaintiffs are a group of members, supporters, or

 affiliates of the Antifa domestic terror organization ….”).

         In their jury questionnaires, several prospective jurors have demonstrated extreme bias—

 if not outright animosity towards—“Antifa” and its members. For example, many prospective

 jurors referred to members of “Antifa” as “useless criminals” and “terrorists.” Tr. of Pretrial Hr’g

 at 15-16, 24, Sines v. Kessler, No. 3:17-cv-72 (W.D. Va. Oct. 22, 2021). Such predetermined and

 highly prejudicial views towards “Antifa” should be disqualifying in this case, for they indicate

 that the prospective juror is incapable of “be[ing] fair and impartial and decid[ing] the case on the

 facts and law presented.” United States v. Peterson, 378 F. App’x 335, 337 (4th Cir. 2010); see

 Godfrey v. Faulkner, No. 7:13-cv-454, Final Jury Instructions, ECF No. 234 at 2 (W.D. Va. July




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 31, 2015) (Moon, J.) (instructing jurors to “perform [their duties as jurors] without bias or prejudice

 as to any party”).

        As a result of Defendants’ repeated invocation of “Antifa” (and their anticipated attempt

 to connect Plaintiffs to that group), a juror’s strong preconceived biases directly relating to that

 defense will prevent them from considering the case in a fair and impartial manner. Courts often

 excuse jurors for cause where (as here) they harbor prejudices relating to a central issue in the case.

 Cf. United States v. Nell, 526 F.2d 1223, 1230 (5th Cir. 1976) (district court should have dismissed

 a juror for cause where the defendant was on trial for embezzling union funds and the juror had

 expressed strong anti-union animus); United States v. Abdulla, 632 F. App’x 98, 100 (4th Cir.

 2015) (upholding trial court’s decision to strike a juror who believed that food stamp fraud was an

 everyday occurrence in case against defendants charged with food stamp fraud because even

 though “juror stated she could be fair and impartial, there was a real possibility of partiality based

 on her preconceived impression and opinion”). If jurors enter this case with the extreme beliefs,

 such as that Antifa members are “useless criminals” and “terrorists,” they will be impeded from

 deciding the central issue in this case—responsibility for the violence on August 11 and 12—

 because they are likely to make determinations that are crucial to the outcome of this case based

 on their preexisting biases, rather than “decid[ing] the case solely on the evidence before [them].”

 Porter, 479 F. Supp. 3d at 284.

        In addition, any extreme bias against Antifa will impermissibly taint the juror’s perception

 of Plaintiffs. See, e.g., Def. Christopher Cantwell’s Mot. in Limine, ECF No. 1066 at 1 (“Plaintiffs

 are a group of members, supporters, or affiliates of the Antifa domestic terror organization ….”);

 Mem. in Supp. of Mot. to Dismiss of Def. Richard Spencer, ECF No. 209 at 20 (suggesting that

 Plaintiffs, who were surrounded at the Thomas Jefferson statue on August 11, 2020, were “antifa”).




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 To be sure, Plaintiffs are not members of Antifa. But that is immaterial given Defendants’

 anticipated assertion (borne out by their conduct throughout this litigation) that Plaintiffs are

 members of or associated with Antifa.

        Courts regularly excuse jurors for cause under similar circumstances. For example, jurors

 who have preconceived prejudices against people who have been convicted of certain crimes have

 been dismissed from juries where the defendant is on trial for allegedly committing the same or

 similar crime. Torres, 128 F.3d at 44-45 (2d Cir. 1997) (upholding district court’s decision to strike

 a juror from sitting on a case alleging a heroin-trafficking scheme where juror said he thinks drug

 dealers are “the worst people on earth and [he] wouldn’t believe them no matter what they said”);

 United States v. Shepard, 739 F.3d 286, 293 (6th Cir. 2014) (trial court abused its discretion when

 it refused to strike a juror in a child pornography case because, in part, the juror stated that “child

 pornography was evidence of the ‘lowest part of humanity’ and is ‘just disturbing’”). The same

 should hold true here. Any prospective juror with an extreme bias against Antifa cannot be

 expected to act as an impartial factfinder in a trial where Plaintiffs are being accused by Defendants

 of being “Antifa.” Porter, 479 F. Supp. 3d at 284 (citing Torres, 128 F.3d at 43); see also United

 States v. Paradies, 98 F.3d 1266, 1279 (11th Cir. 1996), as amended (Nov. 6, 1996) (affirming a

 district court who dismissed potential jurors who professed, in their questionnaire, “that they were

 badly prejudiced against one side”).

        For these reasons, the Court should exclude any prospective jurors who express extreme

 views regarding “Antifa” and its members.

                                           CONCLUSION

        The Court should excuse for cause: (1) any jurors who make clear in their questionnaire

 that they refuse to follow the law, (2) any jurors who make clear in their questionnaire that they




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 refuse to follow COVID rules and protocols, and (3) any jurors who make clear in their

 questionnaire that they harbor extreme views on “Antifa” and its members.

 Date: October 24, 2021                             Respectfully submitted,

                                                    /s/ Karen L. Dunn            ___
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         I hereby certify that on October 24, 2021, I also served the following via mail and electronic
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